                                                                        FORM 1
                                            Case:16-00141-jwb   Doc #:27   Filed: 07/26/18 Page 1                             of 2             Page No:      1
                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                     ASSET CASES

 Case No.:                      16-00141                                                             Trustee Name:                          Laura J. Genovich
 Case Name:                     BRINKMEYER, SCOTT S. AND BRINKMEYER, CAROL B.                        Date Filed (f) or Converted (c):       01/14/2016 (f)
 For the Period Ending:         06/30/2018                                                           §341(a) Meeting Date:                  02/26/2016
                                                                                                     Claims Bar Date:                       07/12/2016
                            1                             2                    3                               4                        5                         6
                   Asset Description                  Petition/             Estimated Net Value            Property                Sales/Funds            Asset Fully
                    (Scheduled and                  Unscheduled            (Value Determined by            Abandoned               Received by           Administered
               Unscheduled (u) Property)               Value                      Trustee,           OA =§ 554(a) abandon.          the Estate               (FA)/
                                                                          Less Liens, Exemptions,                                                        Gross Value of
                                                                             and Other Costs)                                                             Remaining

 Ref. #
1       Misc. household goods and                             $4,000.00                      $0.00                                           $0.00                      FA
        furnishings (no single item worth
        over $575.00)
2       3 TVs, 2 cell phones, 2 laptops, 1                     $500.00                       $0.00                                           $0.00                      FA
         iPad, 2 DVD players, and stereo
         system
3        Art prints and wooden boat                            $600.00                       $0.00                                           $0.00                      FA
         displays
4        2 Golf club sets , 2 sets of skis, 5                  $200.00                       $0.00                                           $0.00                      FA
         pairs of snow shoes, and tennis
         racquets
5        Misc. clothing                                        $600.00                       $0.00                                           $0.00                      FA
6        Misc. clothing                                        $600.00                       $0.00                                           $0.00                      FA
7        Wedding rings, watches, earrings,                    $1,000.00                      $0.00                                           $0.00                      FA
         necklaces, bracelets and misc.
         costume jewelry
8        Cash                                                   $50.00                       $0.00                                           $0.00                      FA
9        Checking: Fidelity                                    $200.00                       $0.00                                           $0.00                      FA
10       Checking: Fidelity                                    $159.00                       $0.00                                           $0.00                      FA
11       Checking: JPMorgan Chase                             $2,633.00                      $0.00                                           $0.00                      FA
12       IRA: Fidelity [*4126]                            $38,805.00                         $0.00                                           $0.00                      FA
13       IRA: Fidelity [*3185]                                $8,001.00                      $0.00                                           $0.00                      FA
14       IRA: Fidelity [*8406]                                $6,089.00                      $0.00                                           $0.00                      FA
15       Anticipated 2015 Tax Refunds -                           $0.00                      $0.00                                           $0.00                      FA
         Debtors do not anticipate any
         refunds; Debtors expect to owe
16       2008 Lexus ES                                        $9,000.00                      $0.00                                           $0.00                      FA
         100,000 MILES
17       2007 BMW X5                                          $8,500.00                  $8,500.00                                           $0.00                      FA
         135,000 MILES
18       2005 GEM E4                                           $500.00                     $250.00                                           $0.00                      FA
         golf cart
19       Checking: Fidelity Cash                                  $0.00                      $0.00                                           $0.00                      FA
         Management
         Account - no balance
20       Share of lawsuit proceeds from                       Unknown                    $4,851.50                                           $0.00               $10,000.00
         pending U.S. District Court
         case being handled by Mika,
         Meyers, Beckett & Jones (debtor
         husband's employer) [case is on
         appeal to 6th Cir.]
21       Term Life Insurance Policy:                              $0.00                      $0.00                                           $0.00                      FA
         Lincoln
         Financial Group - no cash value
         Wife: Carol Brinkmeyer

                                                                                              SUBTOTALS                    $0.00                     $0.00
                                                                             FORM 1
                                        Case:16-00141-jwb            Doc #:27   Filed: 07/26/18 Page 2                                 of 2             Page No:     2
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                                                                                Less Liens, Exemptions,                                                           Gross Value of
                                                                                   and Other Costs)                                                                Remaining

22      6756 Cottage Ct.                                      $250,000.00                           $0.00                                             $0.00                    FA
        Petoskey, MI - 49770-0000
        Emmet County


TOTALS (Excluding unknown value)                                                                                                             Gross Value of Remaining Assets
                                                             $331,437.00                      $13,601.50                                             $0.00               $10,000.00



 Major Activities affecting case closing:
  07/26/2018     07/26/2018: Will need tax returns - employ Andy Mitchell
  07/20/2018     07/24/2018: Send Forms 1 and 2 to Andy Mitchell to review for tax return. JY
  07/20/2018     07/13/2018: Got $$ from Mika Myers.
  07/12/2018     07/12/2018: Employ FSCS
  07/10/2018     heard from debtor re amount of settlement funds he is to receive
  07/10/2018     Mika Myers attorney e-mailed that they are ready to send out the settlement proceeds to the bankruptcy estate
  06/19/2018     06/12/2018: Send email to Debtor's attorney requesting update. JY
  12/22/2017     12/22/2017: Send email to Ryan Beach requesting update. (PER CLIENT: NO UPDATE ON LAWSUIT).
  06/08/2017     06/08/2017: Telephone call and email to Ryan Beach regarding status. JY
  10/21/2016     10/21/2016: Send follow up to attorney Beach.
  04/08/2016     04/08/2016: Filed Form 1 and NPD. JY
  04/08/2016     04/08/2016: Email to DA requesting he keep us apprised of status of lawsuit, keeping case open. JY
  02/26/2016     MONITOR FEDERAL LAWSUIT. LJG


 Initial Projected Date Of Final Report (TFR):             01/14/2019                                 /s/ LAURA J. GENOVICH
 Current Projected Date Of Final Report (TFR):             01/14/2019                                 LAURA J. GENOVICH
